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AO 91 (Rev. 11/11) Criminal Complaint                                                                            Irt 3 I il   tI T i-]i: V Iiir*t]iiT

                                        UNrrsn Srarss Dtstnrcr CoURT                                          16?? OeT            2l PH h: 08
                                                                 for the
                                                          District of Vermont

                  United States of America                                                                       BY
                                  v.
                                                                           caseNo'
                   ANTONIOVERGARA
                                                                                           T.LT          wlLlT-                       I



                          Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s)      of             October 26,2A22                in the county   of               Orange                         in the
                       District    of        Vermont            , the defendant(s) violated:

              Code Section                                                    Offense Description


21 U.S.C. $ 841(a)(1),      M1(bX1XB)           Knowing and intentional possession with intent to distribute 40 grams or more
                                                of a mixture and substance containing a detectible amount of
                                                N-phenyl-N-[1-(2-phenylethyl[4-piperidinyl] propanamide ('fentanyl'), a
                                                Schedule ll controlled substance




          This criminal complaint is based on these facts:

See attached Affidavit.




          t   Continued on the attached sheet.



                                                                                                 Conplainant's    s ignatwe


                                                                                                Colin M. Simons, FBISA
                                                                                                  Printed name and title

Sworn to before me and signed in my presence.



Date:             10t27t2022


City and state:                          Burlington, VT                           Hon. Kevin J. Doyle, U.S. Magistrate Judge
                                                                                                  Printednane andtitle
